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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:11CR3087-1
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
GUY E. ALLEN,                                 )
                                              )
                     Defendant.               )

       I am in receipt of a report from the Probation Office (filing no. 321) indicating that
the defendant is ineligible for a sentence reduction under Amendment 782. Counsel have
been notified of the Probation Office’s determination.

       IT IS ORDERED that a sentence reduction under Amendment 782 is denied.

       Dated September 3, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
